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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF AMERICA,           CR. NO. 17-00101 JEK

         Plaintiff,                    MOTION FOR
                                       RECONSIDERATION OF
         v.                            COURT’S 8/21/18 ELECTRONIC
                                       ORDER RE: “UNITED STATES’S
                                       MOTION TO EXTEND THE
   ANTHONY T. WILLIAMS,                DEADLINE TO RESPOND TO
                                       DEFENDANT’S MOTION TO
         Defendant.                    DISMISS;” DECLARATION OF
                                       COUNSEL; EXHIBIT “A;”
                                       CERTIFICATE OF SERVICE.


         MOTION FOR RECONSIDERATION OF COURT’S 8/21/18
        ELECTRONIC ORDER RE: “UNITED STATES’S MOTION TO
        EXTEND THE DEADLINE TO RESPOND TO DEFENDANT’S
                      MOTION TO DISMISS”

   Comes now, the Defendant Anthony T. Williams, by and through his

   standby counsel, Lars Robert Isaacson, Esq., and files his MOTION FOR

   RECONSIDERATION OF COURT’S 8/21/18 ELECTRONIC ORDER RE:
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   MOTION       FOR     RECONSIDERATION         OF    COURT’S        8/21/18

   ELECTRONIC ORDER RE: “UNITED STATES’S MOTION TO

   EXTEND THE DEADLINE TO RESPOND TO DEFENDANT’S

   MOTION TO DISMISS.” This motion is based the Declaration of Counsel

   and Exhibit “A” attached to this document.

      Dated: August 22, 2018



                                        /s/ Lars Isaacson
                                  LARS ROBERT ISAACSON
                                  Standby Attorney for
                                  Defendant Anthony T. Williams
